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JAMES DoNALD HAYNES,
V.
HENRYCOUNTY,ETAL" cAsENuMBER: 1b442swwAn

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

|T |S ORDERED AND ADJUDGED that in compliance with the order entered in
the above-styled matter on 5/3/2005, this case is hereby D|SM|SSED and it is furthered
CERT|F|ED that any appeal in this matter is not taken in good faith.

APPROVED:

Q?f/w/wli

JAM D. TODD

. w

UNI D STATES DlSTRlCT JUDGE

ROBERT R. Di TROL|O

 

 

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This document entered on the docket sheet in compliance

with Ru|e 58 andlor 79(3) FRCP On 5 , t §§ l g 16 .

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 1:04-CV-01281 Was distributed by faX, mail, or direct printing on
May ]O, 2005 to the parties listed.

 

James D. Haynes
W.T.S.P.

37163]

P.O. Box 1150
Henning, TN 38041

Honorable J ames Todd
US DISTRICT COURT

